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        EXHIBIT A
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                               UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF VERMONT


                                                                      )
 IN RE:                                                               )
                                                                      )
 ROMAN CATHOLIC DIOCESE OF BURLINGTON,                                )   Case No. 24-10205-HZC
 VERMONT,1                                                            )   Chapter 1 1
                                                                      )
                                    Debtor.                           )
                                                                      )

                     ORDER GRANTING MOTION TO SCHEDULE A STATUS
                    CONFERENCE FOR THE PRESENTATION OF SURVIVOR
                                              STATEMENTS


          Upon consideration of the Motion to Schedule a Status conference for the Presentation of


Survivor Statements (the “Motion”) filed by the Official Committee of Unsecured Creditors


(“Committee”), the absence of opposition by The Roman Catholic Diocese of Burlington,


Vermont (the “Diocese”), all pleadings and arguments at the hearing, the Court having found


that notice of the Motion was appropriate under the circumstances, and good cause appearing,


          IT IS HEREBY ORDERED:


          1.        The Motion is GRANTED.


          2.        The Court will hold two, two-hour status conferences (collectively, the “Survivor


Statement Sessions”), one in person in Courtroom                 at                     and one via Zoom at




          3.        The sole purpose of the Survivor Statement Sessions is to increase survivor


engagement and understanding in this chapter 1 1 case; no statements of any party in interest at


the Survivor Statement Sessions will be considered as evidence in any matter or proceeding in


this case or as part of the official record in this case.




1 The Diocese’s address is 55 Joy Drive, South Burlington, VT 05403, and its EIN Number is XX-XXXXXXX.



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          4.        The Survivor Statement Sessions will not be transcribed by a court reporter. The


Court will make an audio recording of the Survivor Statement Sessions, which is standard

protocol for the Court and necessary for the Court to preside over such sessions, but the

recordings of the Survivor Statement Sessions will not be released or transcribed without further

Order of the Court, after notice and hearing, and only if and to the extent mandated by law or


consented to by the parties.


          5.        If any survivor who filed a proof of claim in the Debtor’s bankruptcy would like the

opportunity to make a statement, the survivor (a “Speaker”) should contact counsel to the Official

Committee of Unsecured Creditors (Brittany Michael at bmichael@pszjlaw.com) as soon as possible,

and include the Speaker’s contact information. Please note it may not be possible to accommodate

every request.


          6.        The Committee shall select the Speakers and, at least two business days in


advance of each Survivor Statement Session, counsel for the Committee shall email the

courtroom deputy with the names of the Speakers, numbered in order of expected appearance,


and the estimated time for each Speaker.


          7.        Apart from introductions by counsel and the Court, the Survivor Statement


Sessions will include only statements by the Speakers. No party in interest shall comment or

respond to the statements.


Dated:                           , 2025
          Burlington, VT                                   Hon. Heather Z. Cooper
                                                           United States Bankruptcy Judge




                                                  2
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      EXHIBIT B
     Case 24-10205 Doc                        275-1 Filed 04/11/25 Entered                            04/11/25 12:56:53
                  Desc                        Exhibits A - H Entered onPage
                                                                        Docket                    5 of 47
                                                                       August 28, 2024
                                                                       EDVTaRD J. EMMONS, CLERK
                                                                       U.S. BANKRUPTCY COURT
                                                                                                                      ft-/       \ci
                                                                       NORTHERN DISTRICT OF CALIFORNIA




 1                                                                     Signed and Filed: August 28, 2024
                                                                                                                      wo
 2


 3

 4


 5                                                                  DENNIS MONTALI
                                                                    U.S. Bankruptcy Judge
 6

 7                                    UNITED        STATES    BANKRUPTCY                COURT

 8
                                     NORTHERN         DISTRICT          OF    CALIFORNIA

 9
     In    re                                                 )    Bankruptcy             Case     No.       23-30564-DM

10
     THE    ROMAN          CATHOLIC      ARCHBISHOP           )    Chapter          11
11
     OF    SAN       FRANCISCO,

12


13                                 Debtor .

                                                              )
14


15


16              AMENDED       ORDER      GRANTING APPLICATION                     TO     SCHEDULE        A   STATUS
                    CONFERENCE WITH PRESENTATION OF SURVIVOR STATEMENTS1
17


18              At    status       conferences        held        on    July      25,     2024     at    1:30      p.m.

19   and August             27,    2024 ,     the   court     considered               the   Application            to

20   Schedule          a    Status       Conference for the                  Presentation            Of Survivor

21   Statements             (the    "Application") 2              [Dkt .     No .    7 45] ,      filed      by   the

22   Official Committee                  of Unsecured Creditors                        in the above-captioned

23   bankruptcy case,                the      response      to     the Application                 filed by

24


25
                1   This Amended Order adds matters discussed at the hearing
     on    August       27, 2024 and makes non-substantive revisions to the
26
     matters         dealt        with   in    Dkt.    781.
27
                2 Capitalized terms                 not defined herein                   shall     have      the    same
28   meaning ascribed to                    them in the Application.

                                                              -1-



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 1   Certain          Underwriters                at   Lloyd' s          London              and    Certain             London Market


 2   Companies             [Dkt.       No.    750],          and       other matters                    raised          sua    sponte by


 3   the    court.


 4           IT       IS    HEREBY       ORDERED:


 5           1 .           The    Application                is       GRANTED.


 6           2 .           The    Court       will          hold       two,    two-hour                 in-person             status


 7   conferences                (collectively,                   the    "Conferences") ,                      in    Courtroom             17


     of    the     United         States          Bankruptcy             Court,              450    Golden          Gate       Ave.,       San
 8

     Francisco,             CA    94102,          on    September             9 ,       2024       at    2:00      p.nt.       PT    and
 9


10   September             13,    2024       at    10:30          a.m.       PT,        respectively,                   before       the


11   Honorable             Dennis       Montali.


12           3 .           No    statements             of       any party              in    interest             at    the


13   Conferences                will    be    considered                as    evidence              in       any matter             or



14   proceeding             in    this       case       or       as    part     of       the       official             record       in


15   this    case.


16           4 .           The    Conferences                will       not    be        transcribed                by    a    court


17   reporter          and       the    Court          will       record       the           audio       of    the       Conferences,


18   which       is    standard protocol                         for    the     Court          and       necessary             for       the


19   Court       to    preside          over       the       Conferences,                    but    the       recordings             of    the


20   Conferences                will    not       be    released or                 transcribed without                            further


21   Order       of    the       Court,       after          notice          and        hearing,             and    only       if    and       to


22   the    extent mandated by                         law       or    consented              to by          the    parties .


23           5.            If    any    Survivor             who       filed        a    proof          of    claim in             the


24   Debtor's          bankruptcy would                      like       the     opportunity                   to make          a


25   statement,             the    Survivor             (a       "Speaker")              should          contact          counsel          to

     the    Official             Committee             of    Unsecured Creditors                             (Brittany             Michael
26


27   at bmichael@ps z j law . com)                          as    soon as           possible,                and    include          the


28


                                                                        -2-



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 1   Speaker's            contact             information.                 Please            note       it may       not    be


 2   possible            to    accommodate                every       re      uest.


 3            6.          The       Committee             shall       select            the       Speakers          and,    prior             to


 4   the    particular                  Conference            (September                6    and       September          11)    shall


 5   email     to        the       Courtroom             Deputy       (Lorena               Parada@Canb . Uscourts . GO                        )


 6   and    counsel            for       Debtor,          the    names         of       the       Speakers,          numbering                the


 7   Speakers            in    order          they       expect       to      speak          and       the    estimated          time


 8   for    each         Speaker.              During         the     Conference,                  Speakers          will       be


 9   referred            to    only by          their         assigned             Speaker             number       unless       they


10   choose         to    use       their       own       names.           The      entire             time    for    each


11   Conference               is    approximately                two       hours,            and       Speakers       will       not          be


12   allowed more                  than       fifteen         minutes          each.


13            7 .         The       Conferences               will       include             only       statements          by       the


14   Speakers,            apart          from       introductions                  by       counsel          for    the    Debtor             and


15   the    Committee               and       the    court          no     parties            in       interest        shall         be


16   expected            or    allowed          to       comment         or    respond             to    the       Statements.


17            8 .         Courtroom             19       will    be      available                for    any       overflow          in       the


18   event     Courtroom                 17    is    full       and      it    will          be    for       listen       and viewing


19   only .


20            9.          Masks          are    optional            for       anyone          in       attendance.


21            10.         No       recording             or   photographing,                      or    the    use    of    courtroom


22   artists         will          be    permitted.


23            11.         Courtroom             17       will    be      available                exclusively             for    the


24   Committee            and       Speakers             beginning            at    12:45          p.m.       on    September             9


25   and    9:15         a .m.      on    September             13,      and       opened to             the       public       at


26   1:45     p.m.        and       10:15       a .m. ,       respectively                   for       the    Conferences .


27            12 .            ater       will       be    available            in       Courtroom             17.


28                                                            END     OF      ORDER



                                                                         -3-



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                                  COURT    SER     ICE   LIST
 1

     ECF   Recipients
 2


 3

 4


 5


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        EXHIBIT C
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                         Case 23-16969       A -
                                         Doc 432 H           Page
                                                   Filed 03/21/24 Page 1 of 47
                                                                     10 of  2
Entered: March 21st, 2024

Signed: March 21st, 2024


SO ORDERED
                                                                                                                                     I a

                                                                                                                                     /* I
                                                                                                              V\ 'WsXr
                                                                                                                AXX
                                                                                                               MICHELLE M. HARNER
                                                                                                             U.S. BANKRUPTCY JUDGE

                                  IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF MARYLAND
                                                             at Baltimore


                                                                 *
         In re:
                                                                 *


                                                                 *
         Roman Catholic Archbishop of Baltimore,                          Case No. 23-16969-MMH
                                                                 *


                                                                 *
                                     Debtor.                              Chapter 1 1
                                                                 *

         *          *                                                     *        *         *        *         *        *


                            ORDER GRANTING COMMITTEE REQUEST TO RESERVE
                            TIME FOR PRESENTATION OF SURVIVOR STATEMENTS


                   This matter is before the Court on the Notice of Presentation of Survivor Statements (the


         “Notice”), filed by the Official Committee of Unsecured Creditors (the “Committee”) in the above

         captioned chapter 1 1 case. ECF 41 8. By the Notice, the Committee requests that the Court reserve


         two dates to permit Survivor Statements from certain members of the Committee and other


         Survivor claimants who have expressed a willingness and desire to address the Court. Id. Based


         on the Notice and the entirety of the docket in this case to date, the Court finds that the requested


         relief is in the best interest of this estate and may further the Debtor’s reorganization efforts to the


         benefit of the Debtor, the Survivors, and other parties in interest.1 Accordingly, it is, by the United

         States Bankruptcy Court for the District of Maryland,


                   ORDERED, that the relief requested by the Notice is granted on the terms and subject to


         the conditions of this Order; and it is further




         1 Given the nature of the relief requested (including the informational nature of the relief), the proposed dates for the
         status conferences, and the status of this chapter 1 1 case, the Court finds good cause to grant the relief requested by
         the Notice without further notice or opportunity for hearing. 11 U.S.C. § 102(l)(B).
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          ORDERED, that the Court will hold two, two-hour status conferences on April 8, 2024,


and May 20, 2024, each beginning at 10:00 a.m„ ET (collectively, the “Conferences”), in person


in Courtroom 9-C in Baltimore; and it is further


          ORDERED, that the sole purpose of the Conferences is to increase engagement and


understanding in this chapter 1 1 case; no statements of any party at the Conferences will be


considered as evidence in any matter or proceeding in this case or as part of the official record in


this case-, and it is further


          ORDERED, that the Conferences will not be transcribed by a court reporter;2 and it is

further


          ORDERED, that, notwithstanding the immediately preceding decretal paragraph, the


Court will record the audio of the Conferences, which is standard protocol for the Court and


necessary for the Court to preside over the Conferences, but the recordings ofthe Conferences will


not be released or transcribed without further Order of the Court, after notice and hearing, and


only if and to the extent mandated by law or consented to by the parties', and it is further


          ORDERED, that consistent with Local Rule 5070-1, no party or member of the public


may photograph, video record, audio record, broadcast, televise, or otherwise transmit the


Conferences; and it is further


          ORDERED, that the Committee shall file an agenda for each Conference on or before


April 4, 2024, and May 16, 2024, respectively; such agenda should identify only the number of


Survivor Statements being presented and the estimated time allocated to each.




                                               END OF ORDER




- The Court finds that the exceptional circumstances of this case and the factors set forth in the Notice support the
relief granted herein. See, e.g, 28 U.S.C. § 735; Notice fflj 6-12, notes 5, 6.
                                                          2
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     EXHIBIT D
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 So Ordered.


 Signed this 24 day of February, 2025.




                                                       Wendy A. Kinsella

                                                       United States Bankruptcy Judge




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


 In re:                                                  Case No. 20-30663


 The Roman Catholic Diocese of Syracuse, New             Chapter 1 1
 York,
                                                         Judge Wendy A. Kinsella
                       Debtor.



     ORDER GRANTING OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
MOTION TO AUTHORIZE STATUS CONFERENCES FOR THE PRESENTATION OF
                                     SURVIVOR IMPACT STATEMENTS



          This matter is before the Court on The Official Committee of Unsecured Creditors’ Motion


to Authorize Status Conferencesfor the Presentation ofSurvivor Impact Statements (the “Motion”)


filed by the Official Committee of Unsecured Creditors at Dkt. No. 2447; London Market Insurers '

Opposition to Motion to Authorize Status Conference for the Presentation of Survivor Impact

Statements filed by Certain Underwriters at Lloyd’s, London and London Market Companies at

Dkt. No. 2491 (the “LMI Opposition”); Interstate’s Opposition to the Official Committee of

Unsecure Creditors’ Motion to Authorize Status Conferences for the Presentation of Survivor

Impact Statements filed by Interstate Fire & Casualty Company and Firemen’s Fund Insurance



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Company Interstate’s at Dkt. No. 2495 (the “Interstate Opposition” and collectively with the LMI


Opposition, the “Oppositions”); and The Official Committee of Unsecured Creditors' Reply in


Support of the Motion to Authorize Status Conferences for the Presentation of Survivor Impact


Statements (the “Reply”) filed by the Committee at Dkt. No. 2510.


           Based on the Motion and responsive filings, oral argument regarding the Motion on


February 13, 2025, and the record of proceedings in this case, for the reasons stated by the Court


on the record; and after due deliberation thereon, and good and sufficient cause appearing therefor:


          IT IS HEREBY ORDERED THAT:


           1.        The Motion is GRANTED in part and denied in part and the Oppositions are


OVERRULED in part and sustained in part as set forth herein.


          2.         Pursuant to 1 1 U.S.C. § 105(a) and (d), the Court will schedule a status conference


for the presentation of survivor statements on April 22, 2025 from 10:00 a.m. to 4:00 p.m.


prevailing eastern time with a 30-minute break for lunch (the “Conference”).


          3.         The sole purpose of the Conference is to increase engagement and understanding


in this chapter 1 1 case. Any statements made during the Conference, or reporting thereon, shall


not be considered evidence in any matter or proceeding in this case or as part of the official record


in this case and shall have no evidentiary weight.


          4.         The Conference shall not be transcribed by a court reporter.


          5.         Notwithstanding the paragraph 4 of this Order, immediately above, the Court will


record the audio of the Conference, which is standard protocol for the Court and necessary for the


Court to preside over the Conference, provided however, that such recording of the Conference


shall not be released or transcribed without further Court order. To the extent the audio recording




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of the Conference is later transcribed pursuant to an order of this Court, such transcript shall be


sealed pending further Court order.


           6.          Consistent with the Court’s Amended Case Management Order at Dkt. No. 1871,


all persons attending the Conference are strictly prohibited from making any recording of the


proceeding, including but not limited to, a video recording, an audio recording, photographs of the


Conference, or any other transmittal of the Conference.


           7.          Any media report concerning the statements made at the Conference shall not be


considered evidence in any matter or proceeding in this case.


           8.          The Conference shall include only survivor statements; no parties in interest shall


be expected or allowed to comment or respond to the survivor statements.


           9.          The Committee shall file an agenda for the Conference by April 18, 2025; such


agenda should identify only the number of survivor statements being presented, and the estimated


time allocated to each statement.


            10.        Bishop Douglas J. Lucia of the Roman Catholic Diocese of Syracuse, New York


shall attend the Conference. Other Diocesan representatives are encouraged to attend.



                                                       ###




CORE/35205 1 6.0002/1 964 1 8048 . 1
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     EXHIBIT E
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FiJ^3/C 7/25           Desc                         ExhibitsCase
                                                            A - H24-21326 Page                         17 of 47              Doc 1153


                                                                                                                FILED
      1                                                    FOR     PUBLICATION                                 MAR “ 7 2025
                                                                                                       UNITED STATES BANKRUPTCY COUf Ji
      2                                      UNITED       STATES      BANKRUPTCY            COURT
                                                                                                        EASTERN DISTRICT OF CALIFORNIA |
      3                                      EASTERN       DISTRICT           OF    CALIFORNIA


      4   In    re:    THE    ROMAN          CATHOLIC          BISHOP)               Chapter      11
          OF    SACRAMENTO,                           '                  )
      5                                                                              Case   No.     24-21326-C-ll
                  Debtor .
      6                                                                  )          ' Dkt .. Control       STI-6

      7
          MEMORANDUM          ORDER          ON   MOTION        TO   AUTHORIZE          PRESENTATION           OF    SURVIVOR
      8                                                         STATEMENTS

      9
          CHRISTOPHER             M.    KLEIN,       Bankruptcy              Judge

    10
                 The        Creditors'            Committee,          with      acquiescence- by            the     Debtor-

     11
          in-Possession,                has    asked       this'     Court      to    honor    its     promise       made     at

     12
          the    outset       of       the    case    to       afford        sex abuse      victim-claimants                the

     13
          option       of    personally             telling        the       Bishop, 'in      the      Court's      presence,

     14
          how    the    various          abuses       have       affected           their   lives.

    15
                  Some       of    the       insurers          object        that    such a    session         is   not .

     16
          authorized by the Bankruptcy Code                                   and say that a bankruptcy judge

     17
          has no other authority to                            conduct        such a session.            The    opposition

    18
          evinces       stunning             ignorance          of basic        judicial       powers.         Moreover,

    19
          why' the      insurers             object       is    a puzzle.

    20
                  This       order granting the motion                          is    published to          explain why

    21
          the   opposition by                 the    insurers         is wrong.

    22

    23
                                                                         I

    24
                  The promise to hear victim statements                                     in the presence of the
    25
          Court and the Bishop follows from this Court's experience' in 2014
    26
          presiding over a similar session concurrent with the disclosure
    27
          statement hearing in the chapter 11 case of The Roman Catholic
    28
          Bishop       of Stockton,               California.


                                                                         1
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         1               The    emotions                expressed by                those       few ' victims            who    mustered

      2      the    courage          to       come       forward             seemed       to    foster          some     degree       of


      3      closure          and peace             to    them.          That       experience             (perhaps          the    most :

      4      poignant          day       in    this       judge's             37    years       in    office)          illustrated the

      5      inadequacy             of    the       chapter             11    process          in    bringing          closure        to

      6      victims          without          having          such          an    opportunity.             Considerations                 of


      7      basic       human       dignity             require             that       they    know       that       they     have      been

      8      heard by          the       Church          and       by    the       Court.       Mere       promises. to            pay

      9      personal          injury          tort       claims             and    to    reform practices                   did    little           to

     10      assuage          the    trauma             that       was       being       expressed.


     11              The       reality             is    that       profound human,                   psychological,                and

     12      spiritual          aspects             of    church             sex    abuse       cases       transcend           tort

     13      damages.          The    bankruptcy                   reorganization                   process       may    be    proficient

     14      in    the       hard-headed                business             of    marshaling          diocesan          resources              and


     15      insurance          coverage                available             to    fund       tort    damage          payments,           but       it

     16      does    little          to    heal          festering psychological                            wounds.

     17              Anything             that          promotes             reconciliation,                catharsis,          and        solace


    18       for    sex      abuse        victims             in    a    chapter          11    case       serves       the    interests

    19       of    justice          and       is    a worthy             task       for       a bankruptcy             judge.

    20               Procedurally,                      the victims                statement          session          qualifies           as    a



    21       form    of      conference                 that       is. neither            a    trial       nor    a    hearing.          If     one


    22       needs       a   label        and      a     justification,                   it    is    in    the       nature    of     a

    23       confidential             settlement                   conference             that .is         an    exercise       of

    24       inherent         judicial, authority.

    25
                                                          s

    26                                                                             II


    27               The      insurers             in their opposition say that such a session is

    28       not authorized and not. within the discretion of                                                         the Court.


                                                                                   2
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      1          Specifically,             they      object         that       such   a    session          is:       (1)

      2   "unauthorized            under      the    Bankruptcy Code;"                    (2)    this       Court          "cannot


      3   act   without       statutory            authority         otherwise            found       in    the       Bankruptcy


      4   Code;"     (3)     "equity       cannot        serve       as    a    justification               for       the

      5   requested         relief;"       (4)      victim      statements            would          constitute


      6   "testimony;"            and   (5)    "the      proposed          testimony            is    not    offered          in


      7   support      of    any    form      of    relief      before         the    court."          Dkt.       994.


      8          The    insurers         construct            and   demolish          a   straw man              on    a



      9   platform      of    false     premises.


     10

     11                                                             A


     12          Essential          background           to   understanding               the        insurers'


     13   opposition' necessitates                   a   focus      on     the    role      played          by    the


     14   insurers      in    this      tragedy.


     15

     16                                                              1


     17          The    dramatis        personae:


     18          -   Individual tort plaintiffs in pending state-court
                        litigation suing Church on theories sounding in                                                     sexual
     19                     abuse .


     20          - Bishop of Sacramento representing, under principles of
                      apostolic succession, the institutional church diocese
     21                     of Sacramento, defendant in tort lawsuits, and person
                            seeking chapter 11 reorganization on behalf of diocese.
     22
                 -   Attorneys          for   Bishop.
     23
                     Creditors' Committee, official chapter 11 representative
     24                 of collective individual tort plaintiffs for purposes
                            of negotiations intended to achieve global resolution
     25                     of the state-court tort claims based on diocesan assets
                            and    available         insurance.
     26
                 - Attorneys            for Creditor's              Committee.
     27
                 - Bankruptcy Court Judge, presiding over chapter 11 process.
     28



                                                                     3
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         1              -    Superior            Court        Trial       Judge,       presiding          over    the    pending
                                   lawsuits filed' by the individual tort plaintiffs but
      2                            presently stayed by virtue of bankruptcy automatic
                                   stay .
      3
                        -    Insurers            putatively           obligated . to           defend       Bishop       in    pending
      4                            state-court tort litigation suspended by bankruptcy'
                                   automatic stay, and participants in negotiations
      5                            regarding insurer contribution to- potential group
                                   settlement. Obligated to proceed with                                        state-court
      6                            defense if automatic stay terminates.

      7
                                                                                 2
      8
                        The. question               arises,          what       business       is    it    of    the    insurers       if
      9
             some       of    the       tort       plaintiff          victims          want    to    tell       the    Bishop    in    the
     10
             presence             of    the      Chapter        11    Bankruptcy             Judge    how       they    feel?    Why
     11
             should          the       insurers'         care?       How    are       they    harmed?
     12
                        Isn't          it   to     the       advantage          of    the    insurers       that       all   possible
     13
             claims          be    asserted             in    this    collective             proceeding,          so    that    there
     14
             is    no       residuum          of    stragglers             who       might    have    to    be    dealt      with
     15
             after       the       chapter          11       case    ends?
     16

     17
                                                                                 B
     18
                        The       first       relevant          point       regarding          the    insurers          is   that     they-
     19
             are    now basking                  in -the       shelter          of    the    automatic         stay,     without
    20
             which,         they       would        be       paying       for    legions       of    defense          counsel    to
    21
             conduct          discovery             in       the pending             state-court' litigation                 pursuant
    22
             to    their          duty      to     defend.
    23

    24
                                                                                 C
    25
                        The       second relevant point                         is   that    the     insurers         during     this
    26
             case       have       sought          to    cadge       as   much       information          as    possible        about
    27
             the    individual plaintiffs while                                  they are enjoying their                     free ride
    28



                                                                                 4
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      1   on    the       automatic             stay.


      2              They       made       a    strong         effort       to    have       the    chapter       11    claims       form

      3   contain          unnecessarily                  detailed          information              (who,      what,    where ,

      4   when)       that       ordinarily               is    ferreted          out       by    defendants       as    part       of

      5   their       discovery                in   tort       litigation.

      6              This       Court          rebuffed         that    attempt             to    raise    the    bar    at    the

      7   threshold,             reasoning               that    to    do    so       at    the    initial       claim stage.

      8   would       chill          claims         in    a    scenario          in    which       the    chapter       11    goal       is


      9   to    encourage             all      possible          claimants             to    come    forward.


     10              This       Court          reasoned         further          that,       after       the    claims       are

     11   filed,          the    specific            discovery-type                   information          the    insurers

     12   desire          necessarily will                     have    to   be        shared      with     them by       the

     13   Committee             in    connection with                  the mediation                negotiations             that

     14   commonly          resolve            successful             diocese          cases.        It    is    not    realistic

     15   to    expect          insurers            to make       uninformed                investment          decisions          when

     16   settling          liability               exposures.

     17              This       Court       even         has    the    power          to    modify       the    automatic          stay

     18   so    as    to    permit          some         state-court            discovery during                 the    pendency of

     19   this       chapter          11    case,         which it may do                   if negotiations             languish.

    20               Of    course,          if      no    deal    is    agreed upon,                the    insurers          will    have

    21    full       opportunity to                  conduct          and to pay for                individualized             (who,

    22    what ,      where,          when)         discovery in            the        state-court             litigation          after

    23    the    shelter             of    the      automatic          stay      is        lifted.

    24

    25                                                                      D


    26               The key relevant point regarding this Court is that it is

    27    not the trier of fact in the sex abuse personal injury tort

    28    actions .         Nor,          in light of .28. U.S.C'.                    § 157(b) (5),             could it ever be


                                                                            5
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      1   the   trier- of              fact.

      2            Rather,             as    these      are    all    state-court             tort         cases,       that    duty


      3   falls      upon         the       state      superior       court          judge    to    whom         the    various

      4   cases      are,         or    will      be,    assigned          for       trial.

      5

      6                                                                III


      7            The       assertion            that    a    Bankruptcy             Court       lacks      authority          to

      8   permit        survivor             statements         to    be       made    to    the    Court         and    to    the

      9   Bishop        in    a    confidential               setting          is    nonsense.

     10

     11                                                                    A


     12            The       proposition               that    any    words          that    cross         the    lips    of    the


     13   complaining              victims          constitutes            "testimony"             makes         no    sense. .


     14            The       victim          statements         are    not being made                  to    the       trier   of

     15   fact .     They         are       not   being       made    under         oath     or    penalty            of perjury.

     16            In    the       procedural            posture       of       the    case.,      any      statements         made


     17   are   no      more       than       allegations            which          standard Rule            12       pretrial

     18   motion        practice             treats      as    true    only          for purposes            of analysis.

     19   Hence ,       the       alleged. sex           abuses       are      treated as           presumed to have

    20    occurred           for       interim pretrial               procedural            purposes.             Ultimately,         of


    21    course,        the plaintiff s must prove- their respective                                             cases by

    22    preponderance                 of    evidence         in    trial by jury.               At       this       stage,

    23    credibility              is    not      an    issue.

    24

   . 25                                                                 B


    26             The       insurers'            next    false premise               is    that       a   Bankruptcy Court

    27-   can   do nothing that is not on the record in. open court.

    28             That premise is belied by Civil Rules 16 and 77 and its •


                                                                           6
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       1   bankruptcy           counterparts                Rules          7016          arid      5001(b),        which       permit

       2   various        conferences             and       similar             sessions             that     are       neither       trials

       3   nor    hearings           to    be    done       in    chambers                   or    elsewhere        on    or    off .the.-


      4    record .


      5            Rule        77(b)       provides          in       relevant                part:. Any         act     other    than       a

      6    trial     on    the       merits       "may be             done          or       conducted by           a    judge    in

      7    chambers ,          without          the    attendance                   of       the    clerk     or    other       court

      8    official,           and    anywhere          inside             or       outside          the    district."           Fed.    R.


      9    Civ.    P .    77 (b) ;        Fed.    R.    Bankr.             P.       5001 (b) .

     10            As     the       Moore's' Treatise                     explains,                Rule    77 (b) ' s     permission

     11    for private              conferences             for       non-trial                matters        "articulates             the

     12    traditional              authority          of    a    judge             to       speak, privately with                the

     13    parties        to    a    suit,       whether          in       bench             conferences           or    in    chambers."

    ' 14   14    Moore's        Federal          Practice             §    77.03             (3d    ed.    2024) ("Moore's") ,

     15    quoting        B.H.       v.    McDonald,             49       F.3d       294,          297-98     (7th Cir.          1995) .

     16            Similarly,              Rule       16 permits                a wide variety of pretrial

     17    conferences              during       the    pre-trial                   stage,          including           scheduling


     18    conferences ,             settlement             conferences,                     and     case    management


     19    conferences .             As    Moore's          explains,                "Rule          16    does     not mandate          any

     20    particular           procedures             for       initial             case          management           conferences          . . .

     21    some    judges           conduct these kind of conferences much less                                                  formally,

     22    with    counsel           in    chambers,             with appearances by telephone                                   or

     23    videoconferencing,                    or    even       off       the          record."          Fed.    R.    Civ.     P.    16,

     24.   Fed.    R.     Bankr.          P.    7016;       14    Moore's                §    16.35(1] [a] .

     25

     26                                                                     IV


     27            In view of the sensitivity of the statements and the privacy

     28    interest        of       victims,          the victim statement session will not be on


                                                                                7
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      1   the    record.       It    will    occur          in    an       appropriate                private        setting.          Nor

      2   will    there      be     electronic             recording.


      3           The    session. on         Monday,-            March          31,       2025,      .at     11:00    a.m.,       will

      4   not    exceed       two    and    one-half             hours.             It    is    fundamentally           a


      5   listening          session.       There          will       be       no    responses             entertained.           No

      6   other       subjects       will    be       discussed.

      7           The    invitees          are    limited             to       the       victims       who     wish. to      make

      8   statements,         Victims        Committee                counsel,                the    Bishop,       and his

      9   chapter       11   counsel.

     10           Although          this    Court          initially                stated          that     a representative

     11   of    the    insurers       could attend                the          confidential                settlement

     12   conference,          their opposition papers                               persuade          this     Court

     13   otherwise..        The     insurers         point           out       that          statements        made    at    a

     14   similar       session       in    another          diocese                case       in    a different        judicial

     15   district       were       soon    reported             in    a       newspaper.             Thus,     they    stress

     16   that    confidentiality                is    a   prime           concern.             This       Court     agrees       and

     17   believes       that       limiting access                   is       important             to preventing

     18   disclosure.         Hence,        the       insurers             are       no       longer       invited.


     19           The    insurers will have                      to trust                in this Court's adherence                       to.

     20   its instructions stated above and to its fidelity to Judicial

     21   Canons ,      including avoiding an appearance                                        of    impropriety.

     22           The    Creditors'          Committee- motion                           is    GRANTED.

     23           SO    ORDERED.


     24
            Dated.: March 06,' 2025
     25

     26

     27                                                                                               M...
                                                                           United S.-ttate.s- Bankruptcy Judge
     28



                                                                           8
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        1                                  INSTRUCTIONS      TO   CLERK    OF   COURT
                                                      SERVICE       LIST
        2
                 The Clerk of Court is .instructed to send the                           attached
        3   document, via the BNC, to the following parties:

        4   Paul J. Pascuzzi
            500 Capitol Mall, Suite               2250
        5   Sacramento, CA 95814


        6   The Official Committee of Unsecured ..Creditors
            c/o Robert T. Kugler
        7   50 S 6th Street, Suite 2600
            Minneapolis,            Minnesota    55402
        8
            Jeff    Kahane
        9   Duane Morris LLP
            865 S. Figueroa Street,               Suite      3100
       10   Los Angeles, CA 90017

       11   Catalina      J.    Sugayan
            Clyde    &   Co    US    LLP
       12   30 S. Wacker Drive,               Suite   2600
            Chicago, IL 60606
       13
            Office of the            US Trustee
       14   501 I. Street,           Suite 7-500
            Sacramento,         CA    95814
       15

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                                                     on Docket 27 of 47
                                                  December 6, 2024
                                                  EDWARD J. EMMONS, CLERK              7^       4N
                                                  U.S. BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA
                                                                                      Il   f

   1    STINSON LLP
        ROBERT T. KUGLER
   2    (Minn. Bar No. 194116)         The following constitutes the order of the Court.
        robert.kugler@stinson.com      Signed: Decembers, 2024
   3    EDWIN H. CALDIE (pro hac vice)
        ed.caldie@stinson.com
   4    CLARISSA C. BRADY (pro hac vice)
        darissa.brady@stinson.com
   5    50 S 6th Street, Suite 2600
                                           Charles Novack
        Minneapolis, Minnesota 55402
   6                                       U.S. Bankruptcy Judge
        Telephone: (612) 335-1500

   7    KELLER BENVENUTTI KIM LLP
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        JANE KIM (Cal. Bar No. 298192)
   9    (jkim@kbkllp.com)
        GABRIELLE L. ALBERT
  10    (Cal. Bar No. 190895)
        (galbert@kbkllp.com)
  11    425 Market Street, 26th Floor
        San Francisco, California 94105
  12    Telephone: (415) 496-6723
        Facsimile: (650) 636-9251
  13
        Counsel for the Official Committee of Unsecured
  14    Creditors

  15

  16                        UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF CALIFORNIA
  17                                   SANTA ROSA DIVISION

  18
       In re:                                       Case No. 23-10113 CN
  19
       THE ROMAN CATHOLIC BISHOP                    Chapter 1 1
 20
       OF SANTA ROSA,

 21                                                 ORDER GRANTING THE OFFICIAL
                             Debtor.                COMMITTEE OF UNSECURED
 22                                                 CREDITORS’ MOTION FOR THE
                                                    PRESENTATION OF SURVIVOR
 23                                                 STATEMENTS AND SCHEDULING THE
                                                    PRESENTATION OF SURVIVOR
 24
                                                    STATEMENTS FOR FEBUARY 6, 2025

 25
                                                    [Re: Dkt. No. 920]
 26

 27

 28



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      1
                  This matter is before the Court on the Official Committee of Unsecured Creditors’ Motion
   2
          to Schedule A Status Conference for the Presentation of Survivor Statements [Dkt. 920] (the
   3
          “Motion”), filed by the Official Committee of Unsecured Creditors (the “Committee”) in the
   4
          above-captioned chapter 1 1 case. By the Motion, the Committee requests that the Court reserve
   5
          a date to permit the presentation of statements (“Survivor Statements”) from certain members of
   6
          the Committee and other survivor claimants (“Survivors”) who have expressed a willingness and
   7
          desire to address the Court. Based on the Motion, and the entirety of the docket in this case to
   8
          date, the Court finds that the requested relief is in the best interest of this estate and may further
   9
          the Debtor’s reorganization efforts to the benefit of the Debtor, the Survivors, and other parties
  10
          in interest; and after due deliberation thereon, and good and sufficient cause appearing therefor:

  11
                  IT IS HEREBY ORDERED THAT:
  12
                  1.     The Motion is GRANTED.
  13
                 2.      The hearing will be held on Thursday, February 6, 2025 at 1:00 PM, at the
  14
          United States Bankruptcy Court Northern District of California, Courtroom 215, 1300 Clay
  15
          Street, Oakland, California 94612 (the “Conference”).
  16
                 3.      The sole purpose of the Conference is to increase engagement and understanding
  17
          in this chapter 1 1 case; no statements of any party at the Conference will be considered as

  18
          evidence in any matter or proceeding in this case or as part of the official record in this case.
  19
                 4.      The Conference will not be transcribed by a court reporter.
  20
                 5.      Notwithstanding the immediately preceding paragraph, the Court will record the
 21
          audio of the Conference, which is standard protocol for the Court and necessary for the Court to
 22
          preside over the Conference, but the recordings of the Conference will not be released or
 23
          transcribed without further Order of the Court, after notice and hearing, and only if and to the
 24
          extent mandated by law or consented to by the parties.
 25
                 6.      The Committee shall file an agenda for the Conference prior to the Conference;
 26
          such agenda should identify only the number of Survivor Statements being presented and the
 27
          estimated time allocated to each statement.
 28



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       1
                  7.     The Conference will include only Survivor Statements; no parties in interest shall
       2
           be expected or allowed to comment or respond to the Survivor Statements.
       3
                                                 END OF ORDER
       4

       5

       6

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       1
                                          COURT SERVICE LIST
       2

       3
           All ECF Parties
      4

      5

      6

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                                                              EDWARD J. EMMONS, CLERK
                                                              U.S. BANKRUPTCY COURT
                                                              NORTHERN DISTRICT OF CALIFORNIA



           LOWENSTEIN SANDLER LLP
    1     JEFFREY D. PROL (pro hac vice)
          iprol@lowenstein.com        Th
    2                                    e following constitutes the order of the Court.
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                                                         jned: October 31, 2024
          bweisenberg@lowenstein.com                    y
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         Roseland, New Jersey 07068
    4    Telephone: (973) 597-2500
         Facsimile: (973) 597-2400
    5
         KELLER BENVENUTTI KIM LLP                          William J. Lafferty, III
    6    TOBIAS S. KELLER                                   U.S. Bankruptcy Judge
         (Cal. Bar No. 151445)
    7    tkeller@kbkllp.com
         JANE KIM (Cal. Bar No. 298192)
    8    jkim@kbkllp.com
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    9    (Cal. Bar No. 190895)
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  12
         Counsel for the Official Committee of Unsecured
  13     Creditors

  14

                                      UNITED STATES BANKRUPTCY COURT
  15
                                      NORTHERN DISTRICT OF CALIFORNIA
                                            OAKLAND DIVISION
  16

  17
                                                                         Case No. 23-40523 WJL
  18
        In re:                                                           Chapter 1 1
  19

        THE ROMAN CATHOLIC BISHOP OF                                     AGREED ORDER GRANTING
  20
        OAKLAND, a California corporation sole,                          MOTION TO SCHEDULE STATUS

  21                                                                     CONFERENCES FOR THE
        Debtor.                                                          PRESENTATION OF SURVIVOR
  22                                                                     STATEMENTS

  23

  24

  25             Upon consideration of the Motion to Schedule Status Conferences for the Presentation of

  26    Survivor Statements [Dkt. No. 1365] (the “Motion”)1 filed by the Official Committee of

  27    Unsecured Creditors (the “Committee”)                 of the     Roman Catholic Bishop of Oakland            (the

  28



Case: 23-40523
                 Capitalized terms used but not defined herein have the n

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   1   “Debtor”); the Debtor ’s Statement in Support of Committee ’s Requested Order Scheduling Status

  2    Conferences for the Presentation of Survivor Statements [Dkt. No. 1380], including Bishop

  3    Barber’s request and commitment to attend the Survivor Conferences (defined below) subject to

  4    the procedures set forth herein; the Limited Opposition to the Motion for Order Scheduling Status

   5   Conferences for the Presentation of Survivor Statements [Dkt No. 1381]; the Pacific Insurers'

   6   Objection to   the   Committee 's Motion for     Order Scheduling Status Conferences for the

   7   Presentation ofSurvivor Statements [Dkt. No. 1382]; statements made on the record at the initial

   8   hearing on the Motion held October 15, 2024 before this Court; the Committee’s reply in further

   9   support of the Motion [Dkt. No. 1415]; the sur-reply of Pacific Insurers (as defined in the Motion)

  10   to the Committee’s reply in further support of the Motion [Dkt. No. 141 8]; statements made on the

  11   record at the subsequent hearing on the Motion held October 24, 2024 before this Court; and the

  12   entirety of the docket in this case to date, the Court finds, for the reasons stated by the Court on

  13   the record at the October 24, 2024 hearing, that the requested relief is in the best interest of the

  14   Debtor’s estate and may further the Debtor’s reorganization efforts to the benefit of the Debtor,

  15   Survivors and other parties in interest.

  16          IT IS HEREBY ORDERED THAT:

  17           1.     The Motion is GRANTED.

  18          2.      All objections to the Motion not already withdrawn or resolved are OVERRULED.

  19           3.     The Court will hold two, two-hour in-person status conferences (collectively, the

  20    Survivor Conferences”) in Courtroom 220 of the United States Bankruptcy Court, 1300 Clay

  21   Street, Oakland, California 94612: the first two-hour period, from 3:00 P.M. to 5:00 P.M. (Pacific

  22   Time) on November 4, 2024, and the second two-hour period, from 10:00 A.M. to 12:00 P.M.

  23   (Pacific Time) on December 13, 2024, before the Honorable William Lafferty.

  24           4.     No statements of any party in interest at the Survivor Conferences will be

  25   considered as evidence in any matter or proceeding in this case or any other judicial or

  26   administrative proceeding or as part of the official record in this case.

  27           5.      The Survivor Conferences will not be transcribed by a court reporter. The Court

  28   will record the audio of the Survivor Conferences, which is standard protocol for the Court and


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   1   necessary for the Court to preside over the Survivor Conferences; provided, however, that the

   2   recordings of the Survivor Conferences shall not be released or transcribed unless (i) mandated by

   3   law or (ii) the Debtor, the Committee, the Speaker (defined below) and the Insurers (defined in

   4   Exhibit A) agree in writing; provided, further, however, that if a Speaker requests that recordings

   5   of the Survivor Conferences be released or transcribed and one of the foregoing parties opposes

   6   the request, the recordings of the Survivor Conferences may only be released or transcribed upon

   7   entry of an order of the Court, with such order being subject to notice and a hearing.

   8          6.       Any Survivor who has filed a proof of claim in the Chapter 1 1 Case who would like

   9   to speak at a Survivor Conference (a “Speaker”), or their counsel, should request the opportunity

  10   to do so by contacting counsel to the Official Committee of Unsecured Creditors by email

  11   (Gabrielle    Albert,   Esq.     at   galbert@kbkllp.com   and    Brent    Weisenberg,    Esq.   at


  12   bweisenberg@lowenstein.com) on or before October 3 1 , 2024 for Speakers wishing to address the

  13   Court on November 4, 2024 and on or before December 9, 2024 for Speakers wishing to address

  14   the Court on December 13, 2024, and include the Speaker’s contact information and the name (if

  15   any) of their legal counsel. Please note it may not be possible to accommodate every request.

  16          7.       Prior to each particular Survivor Conference, counsel to the Committee shall email

  17   the Courtroom Deputy Cindy Fan, at Cindy_Fan@canb.uscourts.gov, with the names of the

  18   Speakers, numbering the Speakers in order in which they are expected to speak and the estimated

  19   time for each Speaker. During each Survivors Conference, Speakers will be referred to only by

  20   their assigned Speaker number unless they choose to use their own names.        The entire time for

  21   each Survivor Conference is approximately two hours, and Speakers statements shall be limited to

  22   no more than 15 minutes each.

  23          8.       Apart from introductions by counsel for the Debtor and the Committee and the

  24   Court, the Survivor Conferences will include only statements by the Speakers. No party in interest

  25   shall be permitted to comment or respond to the Statements.

  26          9.       The Court will designate a courtroom to be available for any overflow, and for

  27   listen and viewing only, in the event Courtroom 220 is full. Water will be made available.

  28           10.     Masks are optional for anyone in attendance.


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   1          11.      No recording, photographing, or use of courtroom artists will be permitted.

   2          12.      Courtroom 220 will be available exclusively for the Committee and Speakers

   3   beginning at (i) 1:30 P.M. (Pacific Time) on November 4, 2024 and (ii) 8:30 A.M. (Pacific

   4   Time) on December 13, 2024, and opened to the public at (i) 2:00 PM. (Pacific Time) on

   5   November 4, 2024 and (ii) 9:00 A.M. (Pacific Time) on December 13, 2024 for the Survivor

   6   Conferences.

   7                                         **END OF ORDER**

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   1                                               Exhibit A

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       cc
   3    Insurers” means:

   4         (i)       American Home Assurance Co.

   5         (ii)      California Insurance Guarantee Association, a state entity, and

   6         (iii)     Catalina Worthing Insurance Ltd F/K/A FIFPI (As Part VII Transferee of Excess

   7                   Insurance Co. Ltd.)

   8         (iv)      Certain Underwriters At Lloyd’s, London, Subscribing Severally And Not Jointly

   9                   To Slip Nos. Cu 1001 And K 66034 Issued To The Roman Catholic Archbishop Of

  10                   San Francisco, And Nos. K 78138 And Cu 3061 Issued To The Roman Catholic

  11                   Bishop Of Oakland

  12         (v)       Companhia de Seguros Fidelidade SA F/K/A Fidelidade Insurance Company of

  13                   Lisbon, Subscribing to Slip No. K 78138 Issued to the Roman Catholic Bishop of

  14                   Oakland

  15         (vi)      Continental Casualty Company

  16         (vii)     Dominion Insurance Company Limited

  17         (viii)    English & American Insurance Company Limited

  18         (ix)      Insurance Company Of North America

  19         (x)       Lexington Insurance Co.

  20         (xi)      London and Overseas Insurance Company Limited

  21         (xii)     Ocean Marine Insurance Company Limited (As Part VII Transferee of the World

  22                   Auxiliary

  23         (xiii)    Insurance Corporation Limited

  24         (xiv)     Orion Indemnity Company

  25         (xv)      Pacific Employers Insurance

  26         (xvi)     Pacific Indemnity

  27         (xvii)    R&Q Gamma Company Limited (as Part VII Transferee of Anglo French Ltd.)

  28         (xviii) River Thames Insurance Company Limited


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   1        (xix)     Travelers Casualty & Surety Company F/K/A Aetna Casualty & Surety Company

   2        (xx)      United States Fire Insurance

   3        (xxi)     Westchester Fire Insurance Company

   4        (xxii)    Westport Insurance Corporation

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                                     COURT SERVICE LIST
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   2   All ECF parties


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      EXHIBIT H
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AUTHENTICATED ,
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U.S. GOVERNMENT
 INFORMATION '    Desc               Exhibits A - H        Page                   40 of 47
          CPO,




                                                                                                I




                  118th CONGRESS
                     2d Session
                                            H. R. 8077
                  To amend title 11 of the United States Code to address misuse of bankiuptcy
                         proceeding's in cases of child sex abuse, and for other purposes.




                          IN THE HOUSE OF REPRESENTATIVES

                                                 April 18, 2024

                   Ms. Ross (for herself and Ms. Tenney) introduced the following bill; which
                                was referred to the Committee on the Judiciary




                                              A BILL
                  To amend title       11   of the United States Code to address

                       misuse of bankruptcy proceedings in cases of child sex

                       abuse, and for other purposes.


                   i        Be it enacted by the Senate and Blouse of Representa-

                  2    tines of the United States ofAmerica, in Congress assembled,

                  3    SECTION 1. SHORT TITLE.

                  4         This Act may be cited as the “Closing Bankruptcy

                  5    Loopholes for Child Predators Act of 2024”.

                  6    SEC. 2. AMENDMENTS.

                  7         (a) Amendments. —Title 11, United States Code, is

                  8    amended —

                  9               (1) in section 101 —
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                                                2

         1                      (A)    by     redesignating    paragraphs     (51B),

        2                 (51C), and (5 ID) as paragraphs (51C), (5 ID),

        3                 and (5 IE), respectively, and

        4                      (B) by inserting after paragraph (51A) the

        5                 following:

        6                 “(51B)      The     term   ‘sexual   abuse   of a   child’

        7         means any act that—

        8                      “(A) constitutes a violation of—

        9                              “(i)     section   1589,    1590,      1591,

       10                      2241(c), 2242, 2243, 2251, 2251A, 2252,

       11                      2252A, 2260, 2421, 2422, or 2423, 2258,

       12                      or 2258A, of title 18;

       13                              “(ii) section 20341 of title 34; or

       14                              “(iii) a non-Federal law that is similar

       15                      to a law described in clause (i);

       16                      “(B) by reason of the conduct prohibited,

       17                 a person who, while a minor, was aggrieved.”;

       18                 (2) by amending section 1109(c) to read as fol-

       19         lows:

       20         “(c) A party in interest, including the debtor, the

       21    trustee, a creditors’ committee, an equity security holders’

       22    committee, a creditor, an equity security holder, or any

       23    indenture trustee, may raise and may appear and be heard

       24    on any issue in a case under this chapter. In any case

       25    in which a claim is filed against the debtor arising out



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        1   of the alleged sexual abuse of a child, the court shall hold

        2   a conference within 60 days of the deadline by which

        3   proofs of claim must be filed to consider victim impact

        4   statements.

        5        “(d) The sole purpose of victim impact statements

        6   shall be to increase engagement and understanding be-

        7   tween the bankruptcy court and victims or survivors of

        8   child sexual assault. To encourage candor, and thus en-

        9   hance the utility of victim impact statements, the informa-

       10   tion provided through victim impact statements is not, and

       11   shall not be used as, evidence by any person in the case.”,

       12             (3) in section 1101 —

       13                    (A) by in paragraph (2) by striking the pe-

       14             riod at the end and inserting “; and”, and

       15                    (B) by adding at end the following:

       16        “(3) “victim impact statement” means a voluntary

       17   written, oral, video, or audio statement, submitted to, or

       18   presented to the court in the name of the victim or under

       19   a pseudonym, describing the emotional, physical, familial,

       20   or financial impact suffered as a result of the sexual abuse

       21   of the victim who is a creditor of the debtor in a chapter

       22   11 proceeding.”,

       23             (4) in section 541 by adding at end the fol-

       24       lowing:




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         1         “(g) In all cases regarding debts or other financial

        2    liability arising from allegations of sexual abuse of a child,

        3    involving debtors that are organizations described in sec-

        4    tion 501(c)(3) of the Internal Revenue Code of 1986 and

        5    exempt from tax under section 501(a) of such Code, the

        6    Court shall engage the sendees of an independent forensic

        7    accountant to review the assets and interests of such debt-

        8    or, and any nondebtor sought to be released from liability

        9    in a proposed reorganization plan, and require preparation

       10    of a report to assist the Court with ensuring that such

       11    assets and interests are properly included or excluded

       12    from the estate.”,

       13               (5) in section 107 —

       14                      (A) in subsection (b) by adding at the end

       15               the following:

       16    “This subsection shall not apply to cases regarding debts

       17    or other financial liability arising from potential liability

       18    stemming from allegations of sexual abuse of a child ex-

       19    cept to the extent necessary to protect the identity and

       20    personal information of the person (s) alleging that they

       21    were abused unless the alleged offender is found innocent

       22    of abuse in a court of law.”,

       23                      (B) by amending subsection (d) to read as

       24               follows:




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        1         “(cl) Except no court order shall seal any evidence

        2   of alleged crimes relating to the sexual abuse of a child

        3   other than to protect the identity and personal information

        4   of the person(s) alleging that they were abused unless the

        5   alleged offender is found innocent of abuse in a court of

        6   law.”,

        7              (6) in section 362(b)(2)(A)—

        8                     (A) in clause (iv) by striking “or” at the

        9              end,

       10                     (B)   in clause (v) by adding “or” at the

       11              end, and

       12                     (C) by adding at end the following:

       13                           “(vi) concerning the sexual abuse of a

       14                     child or related claims;”,

       15              (7) in section 524(g) (2) (B) (i) by inserting “or

       16        relating to the sexual abuse of a child” before the

       17        semicolon at the end,

       18              (8) in section 1111 by adding at the end the

       19        following:

       20        “(c) Claims relating to sexual abuse of a child           are


       21   deemed timely filed regardless of and notwithstanding the

       22   state statute     of limitation otherwise      applicable to   the

       23   claim.”, and

       24              (9) in section 1181 by adding at the end the

       25        following:



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         1          “(d) Prohibition on Claims Related to Child

        2    Sexual Abuse. —Notwithstanding any provision of law

        3    to the contrary, no subchapter 5 filings shall be permitted

        4    for claims arising from or related to child sexual abuse.”.

        5          (b) Clerical Amendment. —The table of sections

        6    for chapter 1 of title 11, United States Code, is amended

        7    by adding at the end the following:

             “113. Suspension of stay without consent.”.


        8    SEC. 3. AMENDMENTS TO THE FEDERAL RULES OF BANK-

        9                     RUPTCY PROCEDURE.


       10          The Federal         Rules of Bankruptcy Procedure    (11

       11    U.S.C. app.) are amended—

       12                 (1) in rule 2004—

       13                       (A) by amending subsection (b) to read as

       14                follows:

       15          “(b) Scope of Examination

       16          “The examination of an entity under this rule or of

       17    the debtor under §343 of the Code may relate only to the

       18    acts, conduct, or property or to the liabilities and financial

       19    condition of the debtor, or to any matter which may affect

       20    the administration of the debtor’s estate, or to the debtor’s

       21    right to a discharge. In a family farmer’s debt adjustment

       22    case under chapter 12, an individual’s debt adjustment

       23    case under chapter 13, or a reorganization case under

       24    chapter 11 of the Code, other than for the reorganization

       25    of a railroad, the examination may also relate to the oper-

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        1   ation of any business and the desirability of its continu-

        2   ance, the source of any money or property acquired or to

        3   be acquired by the debtor for purposes of consummating

        4   a plan and the consideration given or offered therefor, and

        5   any other matter relevant to the case or to the formulation

        6   of a plan. In a reorganization case under chapter 11 of

        7   the Code related to the alleged sexual abuse of a child,

        8   the examination shall also relate to the abuse allegations

        9   against the debtor and any affiliated entity, remedial poli-

       10   cies and responses to those allegations, information on the

       11   debtor or an affiliated entity’s finances and financial pro-

       12 jections, and any other matter relevant to the case or to

       13   the formulation of a plan.”, and

       14                     (B) by amending subsection (c) to read as

       15              follows:

       16        “(c) Compelling Attendance and Production of Docu-

       17   ments or Electronically Stored Information

       18        “The attendance of an entity for examination and to

       19   produce documents or electronically stored information,

       20   whether the examination is to be conducted 'within or with-

       21   out the district in which the case is pending, may be com-

       22   pelled as provided in Rule 9016 for the attendance of a

       23   witness a.t a hearing or trial. As an officer of the court,

       24   an attorney may issue and sign a subpoena on behalf of

       25   the court where the case is pending if the attorney is ad-



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         1   mitted to practice in that court. In a reorganization case

        2    under chapter 11 of the Code related to the alleged sexual

        3    abuse of a child, debtor attendance for examination and

        4    the production of documents or electronically stored infor-

        5    mation is required.”, and

        6              (2) in rule 9018 by adding at the end the fol

        7         lowing:

        8    “In no respect shall any court order seal any evidence of

        9    alleged crimes relating to the sexual abuse of a child other

       10    than to protect the identity and personal information of

       11    the person(s) alleging that they were abused unless the

       12    alleged offender is found innocent of abuse in a court of

       13    law.”.

                                         O




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